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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



AMY ELIZABETH BARNES,                  )
                                       )
            Plaintiff,                 )
                                       )     CIVIL ACTION FILE
v.                                     )
                                       )     NUMBER 1:11-cv-3606-TCB
PUBLIX SUPER MARKETS, INC.,            )
                                       )
            Defendant.                 )



                                  ORDER

      Before the Court is Plaintiff Amy Elizabeth Barnes’s motion for an

extension of time to file the proposed consolidated pretrial order [39]. For

good cause shown, the motion [39] is GRANTED. Although Defendant

Publix Supermarkets, Inc. has already filed its proposed pretrial order, the

parties shall file a complete consolidated pretrial order on or before April

29, 2013. No further extensions will be granted.
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IT IS SO ORDERED this 23rd day of April, 2013.




                                  Timothy C. Batten, Sr.
                                  United States District Judge




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